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                    CO., LTD., SAMSUNG ELECTRONICS
                 15 AMERICA, INC. and SAMSUNG
                    TELECOMMUNICATIONS AMERICA, LLC
                 16

                 17                             UNITED STATES DISTRICT COURT

                 18                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 19
                 20 APPLE INC., a California corporation,        CASE NO. 11-cv-01846-LHK

                 21                Plaintiff,                    DECLARATION OF JAE-HWAN KIM

                 22         vs.

                 23 SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                 24 ELECTRONICS AMERICA, INC., a New
                    York corporation; SAMSUNG
                 25 TELECOMMUNICATIONS AMERICA,
                    LLC, a Delaware limited liability company,
                 26
                                  Defendants.
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02198.51855/5553156.2                                                               Case No. 11-cv-01846-LHK
                                  KIM DECLARATION ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                        Case 5:11-cv-01846-LHK Document 2496-1 Filed 10/07/13 Page 2 of 3




                   1          I, Jae-Hwan Kim, declare:

                   2          1.     I am Senior Legal Counsel at Samsung Electronics Co., Ltd. (“SEC”).         I have

                   3 personal knowledge of the facts set forth in this declaration, except as otherwise noted, and, if

                   4 called as a witness, could and would testify to those facts under oath.

                   5          2.     I submit this declaration in support of Samsung’s Administrative Motion to File

                   6 Under Seal portions of Exhibit A to the Declaration of Susan Estrich in Support of Samsung’s

                   7 Motion for Relief from Non-dispositive Pretrial Orders of Magistrate Judge (“Exhibit A”).

                   8          3.     I have not reviewed Exhibit A, but am informed and believe that it consists of a

                   9 partially redacted version of the Expert Report of Professor David J. Teece dated March 22, 2012

                 10 and includes royalty rates proposed by Motorola and Ericsson during licensing negotiations with

                 11 Samsung, and actual royalty rates from Samsung’s licensing agreements.          Because these rates are

                 12 not publicly available and have not been disclosed to any third party by Samsung or its licensing

                 13 counter-parties, except under strict confidentiality designations, Samsung considers the terms

                 14 included in Exhibit A highly confidential.

                 15           4.     For the foregoing reasons, Samsung requests that the non-public rates included in

                 16 Exhibit A be sealed.

                 17           I declare under penalty of perjury of the laws of the United States that the foregoing is true

                 18 and correct.     Executed in Suwon, South Korea on October 7, 2013.

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                 20                                                                 /s/ Jae-Hwan Kim
                                                                                    Jae-Hwan Kim
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02198.51855/5553156.2                                                                  Case No. 11-cv-01846-LHK
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                        Case 5:11-cv-01846-LHK Document 2496-1 Filed 10/07/13 Page 3 of 3




                   1                                          ATTESTATION
                   2         I, Victoria F. Maroulis, am the ECF User whose ID and password are being used to file

                   3 this Declaration.   In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that Jae-Hwan

                   4 Kim has concurred in this filing.

                   5

                   6 Dated: October 6, 2013                      By: /s/ Victoria F. Maroulis
                                                                    Victoria F. Maroulis
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02198.51855/5553156.2                                                                 Case No. 11-cv-01846-LHK
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                                    KIM DECLARATION ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
